                          Case 14-50333-gs                  Doc 107           Entered 07/01/14 16:41:16              Page 1 of 2



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                Entered on Docket
            ___________________________________________________________________
               5July 01, 2014
                     6
                         ALAN R. SMITH, ESQ. #1449
                     7   HOLLY E. ESTES, ESQ. #11797
                         Law Offices of Alan R. Smith
                     8   505 Ridge Street                                                                       ELECTRONICALLY LODGED
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                     9   Telephone (775) 786-4579
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                 10      Email: mail@asmithlaw.com
                         Attorney for Debtors
                 11      ANTHONY THOMAS and WENDI
                         THOMAS and AT EMERALD, LLC
                 12
                 13
                 14
                                                            UNITED STATES BANKRUPTCY COURT
                 15
                                                                            DISTRICT OF NEVADA
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                         In Re:                                                                   Case No. BK-N-14-50333-BTB
                 18                                                                               Case No. BK-N-14-50331-BTB
                         ANTHONY THOMAS and                                                       Chapter 11 Cases
                 19      WENDI THOMAS,
                                                                                                  [Jointly Administered]
                 20
                         AT EMERALD, LLC,                                                         ORDER GRANTING EX PARTE
                 21                                                                               MOTION TO EX PARTE MOTION TO
                                               Debtors.                                           SEAL AND REPLACE DOCKET
                 22                                                                               ENTRIES 83, 87, AND 88
                 23      ______________________________/
                 24                 The Court having considered the Debtors’ Ex Parte Motion To Seal And Replace
                 25      Docket Entries 83, 87, and 88 (“Motion”), and good cause appearing therefore,
                 26                 IT IS HEREBY ORDERED that the Motion is GRANTED.
                 27                 IT IS HEREBY FURTHER ORDERED that the Debtor’s Motion To Sell Assets Free
                 28      And Clear Of Liens And Motion to File Purchase and Sale Agreement Under Seal [DE 83]
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
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                          Case 14-50333-gs                  Doc 107           Entered 07/01/14 16:41:16         Page 2 of 2



                     1   shall be sealed and replaced with the attached Exhibit “A”;
                     2              IT IS HEREBY FURTHER ORDERED that the Declaration Of Anthony Thomas In
                     3   Support Of Motion To Sell Assets Free And Clear Of Liens And Motion To File Purchase
                     4   And Sale Agreement Under Seal [DE 88] shall be sealed and replaced with the attached
                     5   Exhibit “B”;
                     6              IT IS HEREBY FURTHER ORDERED that the Debtor’s Ex Parte Motion To File
                     7   Purchase And Sale Agreement Under Seal [DE 87] shall be sealed and replaced with the
                     8   attached Exhibit “C”.
                     9              IT IS SO ORDERED.
                 10      PREPARED AND SUBMITTED BY:
                 11      LAW OFFICES OF ALAN R. SMITH
                 12      By:   /s/ Holly E. Estes
                           HOLLY E. ESTES, ESQ.
                 13        Attorney for Debtors
                 14                                                                           ###
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